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                        UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                              EASTERN DIVISION



  ANTQUAN DURPREE CLAY,                  No. ED CV 19-00032-CJC (DFM)

           Plaintiff,                    JUDGMENT

              v.

  SAN BERNARDINO COUNTY et
  al.,

           Defendants.



       Pursuant to the Court’s Order Accepting Report and Recommendation
 of United States Magistrate Judge,
       IT IS ADJUDGED that the Third Amended Complaint and this entire
 action are dismissed with prejudice.



  Date: October 13, 2021                  ___________________________
                                          CORMAC J. CARNEY
                                          United States District Judge
